 JS44 (Rev. 12112)                    l          K         ~
                                 Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 1 of 35
                                                                                 . CIVIL COVER SHEET                                                       is .(JJ ' fl 5lP
 The; JS 44 cl\· ii cover sheet and he inflnli~ntained herein neither replace nor supplement the filing and service o pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil do~ket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OFJJ:!IS FORM.)                                         J.. -                   . ~ r-~
 I. (a) PLAINTIFFS                                                                                                        DEFENDANTS
 +
        Yo.~tLrrJ                                                                                                        ;%1t 1Pf1;{~/A.~cZ' f2R/rlm(J/1 ~
                                                                                                                       Can/u,,- 11?eve./. /lflVhn /1'//.f"o/1£. ~~
     (b)                                                                                                                  County ofReside'nce ofFfrst Listed Defendant                                                            A._
                                                                                                                                                             (JN u.s. PLAINTIFF c¢;s           ONLY)
                                                                                                                          NOTE:      IN LAND CONDEMNATION CASEsfusE THE LOCATION OF
                                                                                                                                     THE TRACT OF LAND INVOLVED                   /

                              dress, and Telephone Nu~r)
     (C} Attorneys (Firm Name?EA                                                7/   7~ ()3 3./                            Attorney~ (If Known)

    J'lln J~?Au-~1                    'fv/f/       FJ(/ {,J•.. '-'~_o/7pnc:/r-A..
                                                                                                                         o/..fi"'
     3.JI e~r //1;,.,c                          .J.f; l'o~ux /fofr Yur4;/'A, 7f1rJ
                                                      (Place an "X" in.One Box Only)                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box for Plaintiff
                                                                                                                      (For Diversity Cases Only)                                                    and One Box for Defendant)
0 1 U.S. Government                               ,ederal Question                                                                                PTF           DEF                                                    PTF        DEF
           Plaintiff                                  (US. Government Not a Party)                        Citizen of This State                   0 I            0     1    Incorporated or Principal Place              0 4      0 4
                                                                                                                                                                              of Business In This State

0 2     U.S. Government                          Diversity                                                Citizen of Another State                0 2            0    2     Incorporated andPrincipal Place              0   5    0 5
           Defendant                                  (Indicate Citizenship ofParties in Item Ill)                                                                             of Business In Another State

                                                                                                                                                  0 3            0    3     Foreign Nation                               0   6    0 6


                                                                                                                                                        '<     '%" '\B))Nf&tJPTCYilfi#f::i.. ,..        I   ,()THER'ST~ttl.JtfESi>:>; ';!
0    II 0 Insurance                                                            PERSONAL INJURY            0 625 Drug Related Seizure                   0 422 Appeal 28 USC 158                      0 375 False Claims Act
0    120 Marine                       0 310 Airplane                         0 365 Personal Injury -                    of Property 21USC881           0 423 Withdrawal                             0 400 State Reapportionment
0    130 Miller Act                   0 315 Airplane Product                        Product Liability     0 690 Other                                                28 USC 157                     0 410 Antitrust
0    140 Negotiable Instrument                Liability                      0 367 Health Care/                                                                                                     0 430 Banks and Banking
0    150 Recovery of Overpayment      0   320 Assault, Libel &                     Pharmaceutical                                                      ''" '                          · •           0 450 Commerce
         & Enforcement of Judgment            Slander                              Personal Injury                                                     0 820 Copyrights                             0 460 Deportation
0    151 Medicare.Act                 0   330 Federal Employers'                   Product Liability                                                   0 830 Patent                                 0 470 Racketeer Influenced and
0    152 Recovery of Defaulted                Liability                      0 368 Asbestos Personal                                                   0 840 Trademark                                        Corrupt Organizations
         Student Loans                0   340 Marine                                Injury Product                                                                                                  0 480 Consumer Credit
         (Excludes Veterans)          0   345 Marine Product                        Liability             1$1-:®i , . LABO                                 •$<>€)• "~L     !ii\Ernuw .•·     *'''   0 490 Cable/Sat TV
0    153 Recovery of Overpayment
         of Veteran's Benefits        0
                                              Liability
                                          350 Motor Vehicle
                                                                              PERSONAL PROPERTY
                                                                             0 370 Other Fraud
                                                                                                          0 710 Fair Labor Standards
                                                                                                                        Act
                                                                                                                                                       10
                                                                                                                                                       0
                                                                                                                                                               861 HIA (!395ff)
                                                                                                                                                               862 Black Lung (923)
                                                                                                                                                                                                    0 850 Securities/Commodities/
                                                                                                                                                                                                              Exchange
0    160 Stockholders' Suits          0   355 Motor Vehicle                  0 371 Truth in Lending       0 · 720 Labor/Managem~nt                     0       863 DJWC/DIWW (405(g))               0 890 Other Statutory Actions
tJ   190 Clther Contract                                                     0 380 Other Personal         ·             Relations                      0       86'4 SSlD Title XVI                  0 891 Agricultural Acts
0    195 Contract Product Liability                                                Property Damage        0 740 Railway Labor Act                      0       865 RSI (405(.g))                    0 893 Environmental Matters
0    196 Franchise                                                           0 385 Property Damage        0 751 Family and Medical                                                                  0 895 Freedom of Information ·
                                                                                   Product Liability                    Leave Act                              Act
l:\!'m========~=w:ill~r"".'.:::£:~~ci":2~;;;.;;.;,.,.,,,.,=========n 0                                                                                   0 896 Arbitration
i:....-===::..:i=~-:=:µ..:F*==~----=-;p=~=---~-1.li!...:-IO 791 Employee Retirement
                                  0 Other Civil Rights
                                                                                                              .
                                                                                     790 Other Labor Litigation

                                                                                            Income Security Act
                                                                                                                     rn:i:!!C!:='::E~mfll~'~'~•.t~-====~ 0 899 Administrative Pro~edure
                                                                                                                      0 870 Taxes (U.S. Plaintiff              Act/Review or Appeal of
                              0 4~Voting
0 220 Foreclosure                                                                                                                 or Defendant)                Agency Decision
0 230 Rent Lease & Ejectrnent 0 4 Employment               0 510 Motions to Vacate                                    0 871 IRS-Third Party              0 950 Constitutionality of
0 240 Torts to Land           0 4 Housing/                       Sentence                                                         26 USC 7609                  State Statutes
0 245 Tort Product Liability        Accommodations         0 530 General
0 290 All Other Real Property    45 Amer. w/Disabilities - 0 535 Death Penalty       :;iJ':•1lMMJGRATION'.ISt1ll!i!'i
                                    Employment               Other:                0 462 Naturalization Application
                              0 446 Amer. w/Disabilities - 0 540 Mandamus & Other  0 465 Other Immigration
                                    Other                  0 550 Civil Rights               Actions
                              0 448 Education              0 555 Prison Condition
                                                           0 560 Civil Detainee -
                                                                 Conditions of
                                                                 Confinement

      ·\P_RIGIN (Place an "X" i~One Box Only)
     1 Original             0 2 Re oved from                   0    3       Remanded from            0 4 Refu.stated or             0 5 Transferred from                   0 6 Multidistrict
       Proceeding               Sta e Court                                 Appellate Court              Reopened                       Another District                       Litigation
                                                                                                                                           (specify)
                                           Cite the TJ)). Civil Statute qnder which you are filing (Do not cite jurisdictional st,tes unless diversity):
                                           ,.   ~     _-        - ...k...   ~·       .                  l/        l    ttJ C JI f                      .-1
                                           Brief description of cause:                                                               "
                                                           /..../, CFN
VIL REQUESTED IN                           0 CHECK IF THIS IS X CLASS ACTION
     COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.      .
VIII. RELATED CAS
                                                (See instructions):
      IF ANY                                                                JUDGE                                                                            DOCK.ET NUMBER
DATE


FOR OFFICE USE ON
                       0{                         I
                                                                               SIGNATURE OF ATTORNEY OF RECORD


                                                                                                                                                  ···---··-.
                                                                                                                                                                                                                      J4r.
     RECEIPT#                                                                     APPL YING IFP                                          TIJDGE                                      MAG.JUDGE
                           Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 2 of 35

                                                                                    UNITED STATES DISTRICT COURT                                                                15                             256
 FOR THE EASTERN ~ISTRICT OF PENNSYL V;VIIA - DESIGNATION FORM to be used by counsel to indicate the category of tlte case for the purpose of
 assignment to appropri~te calendar.

 Address of Plaintiff:           (      ..,.,. ,,,   I       y    l /   L,'     I    ,,   ,     r    v       ,,,,,,,   ,   -   L   /        (   ,. ,   ,       ti'"   -...-   l,CFL£    -,,.   ,   r   I   {   ,   ,   ,   -




 Address of Defendant:       t   f   ) v             t \   Pl.- L       t'...         J       rc-LJL     7 [ t1 I /            pu: .1;zz1 / - /                )V7'I              /     7/ v       ~

 Place of Accident, lncide tor Transaction:
                                                                                1
                                                                                    f'h1' Jr- J.t.{fL A..
                                                                                                    (Use everse Side For Additional Space)

 Does this civil action invplve a nongovernmental corporate party with any parent·oorporation and any publicly held corporation owni
     (Attach two copies oft~e Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))                                                                                YesD


 Does this case involve mfltidistrict litigation possibilities?                                                                                                                Yeso
 RELATED CASE, IF A
 Case Number:                                                    Judge                                                             Date Terminated:------+---.~-----------

 Civil cases are deemed related when yes is answered to any of the following questions:

 1. Is this case related to nroperty included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                 YesD       Noo/
 2. Does this case involvelthe same issue of fact or grow out of the same transaction as a prior ;uit pending or within one year previously terminated
    action in this court?
                                                                                                                                  YesD      No~
 3. Does this case involve lthe validity or infringement of a patent already in suit ?r any earlier numbered case pending or within one year previously
     terminated action in this court?                                                                                                                                          YesD        No~

 4. Is this case a second o~ successive habeas corpus, social security appeal, or prose civil rights case filed by the same individual?

                                                                                                                                                                               YesD            N~
. CIVIL: (Place    V' ,in OjE CATEGORY ONLY)
 A     Federal Question C es:                                                                                                          B. Diversity Jurisdiction Cases:
  1. o Indemnity Co tract, Marine Contract, and All Other Contracts                                                                    1. o Insurance Contract and Other Contracts
 2. o FELA                                                                                                                             2.       D Airplane Personal Injury

 3. o Jones Act-Per,onal Injury                                                                                                        3. o Assault, Defamation
 4. o Antitrust                                                                                                                        A.       D Marine Personal Injury

                                                                                                                                       5. o Motor Vehicle Personal Injury




 ~
            :~e=:-M anag~ment           Relations                                                                                      6. o Other Personal Injury (Please specify)                                                            .~···
            ivil Rights                                                                                                                7. o Products Liability
            abeas Corpu                                                                                                                8. o Products Liability- Asbestos
 9. o Securities Acts) Cases                                                                                                           9. o All other Diversity Cases
 10. o Social Securit Review Cases                                                                                                                     (Please specify)
 11.   o   All other Fede al Question Cases
           (Please s p e c i f y ) - + - - - - - - - - - - - - - - - - - -

                                                                                              ARBITRATION CERTIFICATION
                                                                                                (Check Appropriate Category)
                                                                                   , counsel of record do hereby certify:..    ,                                                                     f'-'1
                                                                              , that to the best of my knowledge and belief, the damages recoverable in this civil                             actio~e exceed the sum of


DATE:        , I     .... " l I " ' " '     I
                                                                                                                                                                                  cf Y3 V.r__.
                                                                                                                                                                                      Attorney I.D.#
                                                NOTE: A trii'il'Oe novo will be a trial by jury ortly if there has· been compliance with F,R.C.P. 38.                                                      JAN 2 0 2015.
I certify that, to my know~edge, the within case is not related to any case now pending or within one year previously terminated action in this ,court
                                                                                                                                                                                                                               ~ ~ .. »=-""'~¢"""·~
except as noted above.

DATE:         /I '(      U,f ·'f<· QI   J                                                                                      ~~                                                     Pl/1 c/C
                                                                                                                                                                                  Attorn'ey I.D. #
CIV. 609 (512012)
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                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                CASE MANAGEMENT TRACK DESIGNATION FORM

Jf\.hfVV         IJ   Ft-e   le o1    / /,._1 n !J.fr-                                 CIVIL ACTION


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                                     v.
                 /%/' /c.. /oh Cc'.L rle fl/- t1 /-A~
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                                                                                        15
                                                                                       NO.
                                                                                                      256
                                                                                                        -
   I                                      ~;;    tfi-ri h
   In accor ance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
   plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
   filing th complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
   side of his form.) In the event that a defendant does not agree with the plaintiff regarding said
   designat on, that defendant shall, with its first appearance, submit to the clerk of court and serve on
   the plai iff and all other parties, a Case Management Track Designation Form specifying the track
   to whic that defendant believes the case should be assigned.

   SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

   (a) Hab as Corpus -               ~ases   brought under 28 U.S.C. § 2241 through§ 2255.                  ( )
   (b) Soci 1 Security - Cases requesting review of a decision of the Secretary of Health
       and uman Services denying plaintiff Social Security Benefits.                                    ( )
   (c) Arbi ation- Cases required to be designated for arbitrati.on under Local Civil Rule 53.2.        ( )
   ( d) As be tos - Cases involving claims for personal injury or property damage from
        expo ure to asbestos.                                                                           ( )
   (e) Sp~cal Management-Cases that do not fall into tracks (a) through (d) that are
       co    only referred to as complex and that need special or intense· management by
       the c urt. (See reverse side of this form for a detailed explanation of special
       man gement cases.)                                                                               ( )
   (f) Stanqard Management- Cases that do not fall into any one of the other tracks.
                                                                                                       f)'
                                     -
   Telephone                                      FAX Number


   (Civ. 660) 10/02




                                                                                                                  '"'·"'"'""""~-·'~




                                                                                             ·:.JAN 2 0 2015
                 Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 4 of 35

THELX                OFFICES OF SANDRA THOMPSON-LLC

                                                                     January 20, 2015


     Clerk of Ciurt, USDC
     60 l Marke Street                                                               15               256
     Philadelph·a, PA 19106

     RE:     Sa~aro  Sacko v. City of Philadelphia Police Dept et al
            Ini~ial Complaint


     Dear Clerk

             I copld not file online so please accept this complaint for filing ..The'filing fee of $400.00
     is enclosed

                enclosed is a self addressed postage prepaid envelope for the return of a time
     stamped copy.

     Thank you.


                                                            Sincerely,

                                                       ~~!
                                                            Law Q_fllCe of Sandra Thompson, LLC

                                                                             ·)•"




     CC client




                             351 East Princess Street, PO Box 1901, York,<PA 17405
 Office: (717) 84~-3033 Toll-Free: (866) 948-3033 Fax: (717) 854-2223 E-mail: i11fo@sandrathompsonfawlle.com
             Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 5 of 35




i~tO
                          UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF PENNSYLVANIA

       SAHAR<D SACKO,                                                NO.
                Plaintiff
                                                                           15            2·38
                   v.
                                                                     Jury Trial Demanded
   CITY O~PHILADELPHIA POLICE DEPARTMENT,
   CONFE OR NIEVES, MARTIN VINSON, and
   JONAT AN RUTH,                                                                f   ~
        Joi t and Several Defendants
                                                                                J
                                          COMPLAINT


            AND NOW on this 20th day of January, 2015, here comes Saharo Sacko,

                y and through his counsel, Sandra Thompson, Esquire, to file this

   Complaiqt and who does state as follows:

                                         INTRODUCTION                                       .;,''




   1.       This is an action at law to redress the deprivation under color of state law,

            ordlinance, regulation, custom, or usage of a right, privilege and immunity

            secured to the Plaintiff b)'.'. the Fourth, Fifth, and Fourteenth Amendment~,of.

            thelUnited States Constitution and 42 USC§ 1983. Plaintiff also seeks

            redress for state actions.


                                                1
           Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 6 of 35




                                  JURISDICTION AND VENUE

2.    Pursuant to 28 USCA §§ 133 l, 1343, and 1367 this Court has jurisdiction

      over the applicable provisions of the federal laws and of the United States

      Corlstitution, such as:

      a.        42 USC §§ 1983;

      b.        the Fourth, Fifth, and Fourteenth Amendments of the United States

                Constitution;

      c.    I   the due process and equal protection clauses of the United States

                Constitution and laws of these United States;

3.    Thel Court has pendent and supplemental jurisdiction over the state claims, as

      there is a common nucleus of operative facts between the state claims and the



.4.   Venlue is within the Eastern District Court of Pennsylvania because it is

      whre all of the parties reside and where the various events complained of

      hav occurred.




                                            2
           Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 7 of 35




                                              PARTIES

·· 5.    PlJ,,tiff is Saharo Sacko (hereinafter referred to as "Plaintiff"), a black male

         wi~ a national origin from Diongaga, Mali, West Africa, who at all times
         relevant resides at 2654 South 7oth Street, Philadelphia, Pennsylvania 19142.

   6.   · Deiendant, the City of Philadelphia Police Department (hereinafter referred

         to als "Department") has its principal headquarters located at Police

         Headquarters, 750 Race Street, Philadelphia, PA 19106 and it manages,

         directs, controls, creates, and implements policies, supervision, training, and

         disdipline for the City of Philadelphia Police officers, which include co-



   7.    De ndant Department fulfills the policing functions for the City of

        . Phi adelphia in that it owns, operates, manages, directs, controls, creates, and

         imp ements policies, supervision, training, and discipline for the Police

         Deuartment, its officers and employees, which include the individual co-



  8.    - Defendant, Confesor Nieves, PR# 237973, Badge number 3954 (hereinafter

         referred to as "Nieves"), is believed to be a white male of Hispanic origin




                                              3
        Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 8 of 35




      w1110 at all times pertinent hereto was a Police officer for the Department, .

      :w~ose principal place of business for the Department is in the 3rd District

      loc~ted at District Headquarters, 11th St and Wharton St., Philadelphia, PA
      1914 7. He is being sued in his individual capacity as he abused his position

      anl authority.

9.    De endant, Martin Vinson, PR# 231411, Badge numb.er 4892 (hereinafter

      reftrred to as "Vinson"), is believed to be a African ·American male who at

      all tmes pertinent hereto was a Police officer for the Department, whose

      pr,cipal place of business for the Department is in the 3"' District located at

      Disfrict Headquarters, 11th St and Wharton St., Philad~lphia, PA 1914 7. He

      is bbing sued in his individual capacity as he abused his position and



10.   De:fl'endant, Jonathan Ruth, PR# 248037, Badge number 9232 (hereinafter

      referred to as "Ruth"), who at all times pertinent hereto was a Detective for

      the Department in the South Detective's Division whose principal place of

      business is 2301 S 24th St 2nd Fl., Philadelphia, Pennsylvania 19145. He is

      beirlg sued in his individual capacity as he abused his position and authority.




                                          4
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11.   Nitbves, Vinson, and Ruth each acted in his official capacity as a police

      officers·
             -
                for the City of Philadelphia Police Department·- and had knowledge of

          participated in the Constitutional violations against Plaintiff and caused

          .ries to Plaintiff as set forth below.



                                            FACTS

12.   OnlJanuary 18, 2013 through January 19, 2013, Plaintiff was operating a

      taxicab picking up clients and transporting them to their desired locations for



13.   In the late evening of January 18, 2013 into the early morning hours of

      January 19, 2013,.Plaintiff picked up James Edwards, Caucasianmale, and

      trartsported him by taxicab to his desired location for a fee.

14.   After dropping off James Edwards, Plaintiff picked up another client for

      transport for a fee.

15.   Thel new client found the cellphone and gave it to Plaintiff.




                                            5
      Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 10 of 35




16.   During the transport of the new client, Plaintiff was also contacted by his

      dispatcher and - advised that his prior client, later discovered to be
                                                                          -
                                                                             James

      Edwards, had forgotten his cellphone in the back of the taxicab.

17.   A~cording   to Parking Authority policy which regulates taxicab drivers and

      lost and found property; Plaintiff had twenty-four hours to turn in the phone.

18.   Tlie procedure was for Plaintiff to tum the phone into a Parking Authority

      ag~nt seen during bi's route or to drop it off at the office.

19.   As it was a weekend, the Parking Authority was closed and James Edwards

      would not be able to obtain his cellphone until the next business day.

20.   Jrulnes Edwards did not want to wait, so he requested that Plaintiff would

          el to his location to return the phone to him.

21.   Plaintiffs dispatcher made the arrangements with James Edwards informing

          that the return of the phone is a service performed for a fee.

22.      there was no actual fare or client, the Dispatcher calculated the amount

      that would be payable which was about $17.00 and informed both Plaintiff




                                            6                                          > ~   ~'''°'"·~""'-O"""+'!'rl
               Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 11 of 35




       23.   After James Edwards agreed to pay the fee, Plaintiff was dispatched to return

             the \phone to him.

       24.       en Plaintiff arrived to return the phone and collect the fee for his travel,

                 es Edwards refused to pay the fee throwing around $5 .00 at Plaintiff.

       25.   Aftfr some discussion, James Edwards told Plaintiff that he was going to get

             the ~dditional money.                    .

       26.   Plaintiff remained in his tax1cab waiting on James Edwards return.

       27.   Instead of James Edwards returning to Plaintiff, he called the police reporting

             that\ Plaintiff had stolen the cellphone.

       28.   Of9cers Nieves and Vinson responded to the call. (hereinafter referred to as

             "o,cers")

·.''   29.   On January 19, 2013, after taking James Edwards statement, both officers

             ~ediately approached Plaintiff with weapons        drawn ordering him out of

             the Jaxicab.                                 .

       30.   Wh1n Plaintiff   question~d the. officers as to w~y he was being ~ested, the
             offiders responded for him to shut up, pulled him out of the vehicle,




                                                  7
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         plysically assaulted Plaintiff including kneeing him in the groin to take him

         down to the ground.               .:

  31.    Tle officers also responded to Plaintiff that if he did not like what was

         hjpening to him, then he can go back to his country. .

  32.    Prior to handcuffing Plaintiff, the officers did not question Plaintiff or

         ellain to him why he was under arrest or suspicion.

  33.    Je officers knew nothing more thrui a white.male made an accusation
           I                        .



         against a black male.

  34.:   oLe the officers fmally explained to Plaintiff why he was arrested, Plaintiff

         ellained that he was following the direction of his Dispatcher and company

         po~1cy.



  35.    Tlfo officers failed to contact Plaintiffs.dispatcher, the taxicab company, or

         th1 Parking Authority to confirm Plaintiff's account or company policies.

  36.    T~e officers transported Plaintiff to 8th and Race Streets and detained him for
         at least 16 hours.

.. 37.   Diective Ruth with superviso~ authOrity over the 3'd Distric~ subs~~ated

         the acts done by N 1eves and V mson: and the charges filed agamst Pla~nt1ff.




                                                8
              Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 13 of 35




                i

38.        Detective Ruth also interviewed James Edwards but failed to interview
                i


                i

           Plaimtiff, Plaintiff taxicab company, the dispatcher and the Parking Authority.
                I                                   -
                :



39.        The bfficers and Detective Ruth ignored or unjustly disregarded the

           comlimnications attempts from Plaintiffs dispatcher and taxicab company
       .        I                                                            .



           wholtried to support Plaintiff explaining what occurred contrary to James
                !
                I

           Ed~ard' s report.
                i.

40.'       Aro~d January 19, 2013, with the agreement and support of each Defendant
                I

           a wdtten complaint with OTN N843810-2 was filed against Plaintiff alleging
                I
                I



           that he committed Theft By Unlawful Taking, 18 Pa CS§ 3921A, Theft of
                I




           Pro~erty Lost, 18 PA CS§ 3924, Receiving Stolen Property, 18 PA CS§
                I
                i·
           3925.
                I


41.        .Plai4tiff was required to spend time and money .taking time off from work to

           appek in court defending against the criminal charges.
                I


42.            p
           The ase was finally dismissed and disposed of after an appeal to the
                I


           Co+on Pleas court, docketed as CP-51-CR-0010492-2013 and a jury trial
                I

                I                                          •

       -whe~eas      the jury found Plaintiff not guilty of all criminal charges on May 8,

           20141. (A copy of the Trial Disposition and Dismissal Form and the Docket




                                                9
      Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 14 of 35




      are attached hereto, incorporated herein as if stated in full and marked as

      Exhibit A)

43.   Plaintiff suffered personal injury, severe emotions distress, lost wages,

      additional expenses, loss of life enjoyment, humiliation, harassment, and

      di$parag.ement because of each Defendants' actions or failure to act.

44.   Each Defendant's act or failure to act was willful, wanton, malicious and

      with.reckless disregard of the consequences as to reveal a conscience and

      deliberate indifference to Plaintiffs constitutional protections and to the clear

      risk of injury,to Plaintiff.

45.   Be.cause of Plaintiffs race and national origin, he was denied rights to due

      pr<i>cess atl.d to equal protection under the law.

46.   At all relevant times, Defendants were engaged in the investigative and

      administrative functions.·

47.   No reasonable police officer would believe that the actions and failures to

      ac~s   of Nieves, Vinson and Ruth did not violate clearly established statutory

      or constitutional rights




                                                                                     ....,.,.,-_....,...,.... __,,,.,,;_ _ •.
                                           10                                  ~·~                                              _.~.-·   ·~"""'"'   4-~
      Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 15 of 35




48.   There are no other remedies available to Plaintiff or all other remedies are

      inadequate.




                            COUNT I- Violation of 42 USC §1983

         A. Failure to Train and Supervise; Deliberate Indifference


49.   Paragraphs 1 through 48 are incorporated herein as if stated in full.

50.   Defendant Ruth and the Department are policy makers for police officers and

      acting under the Color of State law they caused and contributed to the

      prosecution of Plaintiff.

51.   Defendants Nieves and Vinson acted under the Color of State law while in

      their official capacity under the supervision of the Department.

52.   Upon information and belief, Department completely failed to properly train

      and supervise Nieves, Vinson and Rith as police officers in procedures

      concerning id~nti.ficatioris, investigations, seizure, and matter~ .of sensitivity

      when dealing with a person with racial and ethnic differences to prevent the




                                                                                     __ ,,.,._.
                                           11                                                     .....,,~,.,---   ~..,~,~~
        Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 16 of 35




      practice, policy or custom of racial profiling, and selective and malicious

      prosecution on the basis of race or national origin.

53.   Upon information and belief, the training and supervision of the involved·

      officers were inadequate and insufficient to prevent the practice, policy or

      custom of substituting skin color, race, or national origin for evidence as·

      grounds for suspicion.

54.   Upon information and belief, the training and supervision of the invoived ·

      officers were inadequate and insufficient to prevent the practice, policy or

      custom of fabricating, embellishing, or omitting material information in

      affidavits to give the false or erroneous impression of probable cause for an

      arrest.

55.   Upon information and belief, Defendant Department failed to train and

      supervise Nieves, Vinson and Ruth in procedures that would eliminate or at

      least minimize the risk of the constitutional violations and injuries suffered

      by Plaintiff as outlined herein.

56.   Upon information and belief, Plaintiff suffered racial profiling, suspicion;;

      detention, and seleetive and malicious prosecution because of his skin color,




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      Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 17 of 35




      race and/or national origin which was a direct and proximate result of the

      Department's failure to train and supervise Nieves, Vinson and Ruth.

57.   Upon information and belief, such failures were the result of deliberate

      indifference to the rights of racial and ethnic minorities with whom the

      Defendants have contact.

58.   Upon information and belief, having received prior complaints of racial

      profiling and of searches and· arrests lacking probable cause based on skin

      color, race or national origin, the Department knew or should have known

      that proper training, re-training and supervision of Nieves, Vinson and Ruth

      were necessary to prevent violations of Constitutional rights as suffered by

      Plaintiff.

59.   Upon information and belief, the.failures of the Department were due to a

      practice, custom or policy of indifference to the necessity of adequate

      training and supervision of their officers when dealing with persons of

      different racial and ethnic backgrounds and national origins.




                                         13                                     ~   ~.- ··"""""""·-----~,"""-""'',_   __   .~-~
               Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 18 of 35




       60.   Upon information and belief, as a direct and proximate cause of the aforesaid

             acts or failures to act, and the customs, policies, or usage, Plaintiff was

             denied his constitutional rights and was not afforded equal protections.

       61.   Defendants violated Plaintiffs rights that were clearly established by the

             Fourth, Fifth, and Fourteenth Amendments, the due process and equal

             protection clauses of the United States Constitution, and 42 USC§ 1983.

              WHEREFORE, Plaintiff respectfully 'requests judgment in his favor against
       each Defendant for compensatory and punitive damages plus attorney fees and costs
       in an amounts in excess of $300,000.00 or as thought reasonable, as well as any
       other fair and equitable remedy.




..;'            B. Deliberate Indifference in Policy.,and Customs

       62.   Paragraphs 1 through 61 are incorporated herein as if stated in full.

       63.   Upon information and belief, Defendant Department as policymaker for its

             officers and employees at all times relevant had a practice, policy and/or

             custom of shielding officers from complaints of citizens for racial profiling




                                                                                             ....~
                                                 14                                                  ,~,~...._..,,.,,.,.. ~-~-.-~
      Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 19 of 35




      as a basis of suspicion in criminal investigations and of selective prosecution

      based on skin color, race or national origin.

64.   Upon information and belief, Defendant Department at all times relevant set,

      reinforced or failed to correct a practice, policy and/or custom for its officers

      to focus investigations and/or prosecutions of persons based on their skin

      color, race or national origin.

65. , Upon information and belief, Defendant Department at all times relevant set,

      reinforced or failed to correct a practice, policy and/or custom of using skin

      color, =race or national origin as the primary reason to suspect that an

      individual has broken the law or to pursue prosecution.

66.   Upon information and belief, Defendant Department set, reinforced or failed

      to correct within the police department a practice.; policy or custom of

      fabricating, embellishing, or omitting material information in affidavits to

      give the false or erroneous impression of probable cause for an arrest.

67.   Upon information and belief, Defendant Department at all times relevant set,

      reinforced or failed to correct policy and/or custom of acquiescing in

      unconstitutional practices of their officers in prior circumstances of racial




                                          15
      Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 20 of 35




      profiling and the practice of substituting skin color, race, ethnicity and/or

      national origin for evidence as grounds for suspicion or prosecution which

      allowed the constitutional abuses against Plaintiff to occur as alleged in this

      case.

68.   Upon information and belief, Defendants Department at all times relevant

      set, reinforced or failed to correct a practice, policy and/or custom of

      inadequate response to an investigation of citizen complaints and an

      ineffective and inadequate response to offending officers.

69.   Uponinformation and belief, as a direct and proximate cause of the aforesaid

      acts or failures to act, and the practice, customs, policies, or usage, Plaintiff

      was denied his constitutional rights and was not afforded du.e process or

      equal protections.                                          . .:·



       WHEREFORE, Plaintiff respectfully requests judgment in his favor against
each Defendant for compensatory and punitive damages plus attorney fees and costs
in an amounts in excess of $300,000.00 or as thought reasonable, as well as any
other fair and equitable remedy.




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       Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 21 of 35




              COUNT II- 42 USC § 1983 -          Malicious Prosecution

70.   Paragraphs 1through69 are incorporated herein as if stated in full.

71.   Nieves, Vinson and Ruth subjected Plaintiff to malicious prosecution, in that:

         a. they initiated a criminal proceeding or caused a criminal proceeding to

         be initiated against Plaintiff;

         b. the criminal proceeding terminated in Plaintiffs favor;

         c. the criminal proceeding was initiated without probable cause as no

         reasonable.police officer would rely on the mere self-serving statements

         of James Edwards with performing an investigation to inquire of the

         taxicab company and of the Parking Authority which supervises. and

         regulates taxicab drivers;

         d. Nieves, Vinson and Ruth acted maliciously and/or for the purpose of

         harassing, intimidating, or racial profiling Plaintiff rather than for the

         purpose of bringing Plaintiff to justice.




                                           17                                          ~
          Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 22 of 35




            e. Plaintiff was deprived of his liberty as: he was incarcerated; his

            activities were·;limited;
                          -
                                      he was required to attend all hearings;- and he was

            required to report to court personnel until the case was dismissed.

         WHEREFORE, Plaintiff respectfully requests judgment in his favor against
      each Defendant for compensatory and punitive damages plus attorney fees and
      costs in an amounts in excess of $300,000.00 or as thought reasonable, as well
      as any other fair and equitable remedy.


                 COUNT II- 42 USC §1983 -          EXCESSIVE FORCE

72.      Paragraphs 1 through 71 are incorporated herein as if stated in full.

73.      Nieves and Vinson'-s physical assault upon Plaintiff amounted to an

         unreasonable seizure.

74.      In light of the facts and circ.umstances confronting the officers, their amount_

         and substance of force used against Plaintiff was objectionably unreasomible.

75.      Plaintiff sustained a significant or meaningful physical injury which was a

         direct or foreseeable consequence to their actions.




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                                    Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 23 of 35




                          WHEREFORE, Plaintiff respectfully requests judgment in his favor against each
                          Defendant for compensatory and punitive damages plus attorney fees and costs
                          in an amounts in excess of $300,000.00 or as thought reasonable, as well as any
                          other fair and equitable remedy.


                                                            Respectfully Submitted:


                                                          ?;::!:aw-Thompson, LLC
                                                                 No. #84345

                                                            3 51 East Princess Street
                                                            P.O. Box 1901, York, Pennsylvania 17405
                                                            Tele: 717-848-3033; Fax: 717-854-2223
                                                            sthompsonLLC@gmail.com
                                                            Counsel for Plaintiff



      .·,-·,




                                                                                                      •.._,,.., ,...,_;(-,_~·.- ,., ,_ ,...,,"""""---~,.,,.-   ""'"" '~....,.,..~.,,,_,,4""4l::\
~ -'----~i-----~---"''""~'""'   _,,, . . ----~--"-·---·             19
                   Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 24 of 35
        ---.- . ---·--·-·---- ..
                                                                                                .·            ·.~..             ')\
                                                                                                                                                        ~




                                                                           Trial Disposition and Dismissal Form
__ Currently In County Prison                                                           ARD                                                                           Page:                            1 of _ __
__ Intake given at time of Plea                                                         Standard                                                                      Date:
   Plea                                                                                 Revo. (Prob./Parole)                                                          PSI Agent
__ Plea & Sentencing                                                                    ICC                                                                           Court Rep. Initials:
   Trial                                                                                Bench Warrant Review Hearing                                                  Case Assigned To:
    IPP                                                                                                                                                               Collections Initials:

 File   #1------=========                                                      Presently on supervision with P.O.
                                                                                           DISPOSITION I COMMITMENT

                  __
 Name: Sacko, Saharo
 Race: ..;.;;;;;;.;,.
        Black
 Sentencing Date:
                            Sex: Male
                                      -----
                                                                                        DOB:             09/01/1964
                                                                                        SSN: . XXX-XX-XXXX
                                                                                        Ti"-:
                                                                                                                                                               D.A.: Philadelphia County District Attorney's Office
                                                                                                                                                               Oisp.Authority: Street, Sierra Thomas
                                                                                                                                                               Typing Date: _
 Defense Counsel:        Thompson. Sandra Ilene                                                                                                                Court Room: 508
                                                                                        PID:.~
48 Hrs:                             30Days: _ _                                         90Days: _ _                                                            BAC: _ __                     CRN Date: _ _ __
  DOCKET                            COUNT - OFFENSE                                                           OFFENSE CODE                                  DISPOSITION                                       FINES
  OTN                               FINE RANGE                                                                GRADE                                         DISPOSITION DATE                                  COSTS
  DATE of OFFENSE                   PLEA                                                                                                                    SENTENCING DATE                                    REST
  CP-51-CR..(1010492.2013           1 - Theft By Unlaw Taking-Movable 18§3921§§A                                                                            Not Guilty                                         Costs/
  N 843810-2                        Prop                                                                                                                    Disposition Date: 05108/2014                   -Fines
                                                                      M1                                                                                                                                   _ _ EMSA
                                                                                                                                                            Sentence Date: 0712412013
  01119/2013                                                                                                                                                Disposing Authority: Street, Sierra
                                                                                                     '
                                                                                                                                                            Thomas
                                                                                                                                                                                                           -·- MCA
                                                                                                                                                                                                               Rest
                                                                                                                                                                                                                   RE


  CP-51-CR-0010492-2013             2 - Theft Property Lost Etc By 18§3924                                                                                  Not Guilty                      ..                  Costs/
  N 843810·2                        Mistake        :                                                                                                        Disposition Date: 0510812014                  -Fines
                                                                   M1
                                                                                                 ..                                                         Sentence Date: 07/2412013                     ____,.EMSA
. "'tl1l~U..- ---··--~- ·". · - --·   ...   .. ...................._··--                                                                                    Disposing Authority. Street, Sierra                  MCARE

                                                                    .
                                                                                                -·~·.    -·           --~   -
                                                                                                                            --~-,--   -   .........._
                                                                                                                                                            -~        ·-----·   ·--.~-·--··-----~---   ·- -··-~R!~L
  CP-51-CR..Q010492-2013            99999          Theft                              By      Uniaw 1.8§3921 §§A                                            Disposed at Lower Court                            Costsl
  N 843810-2                        Taking:.Movable Prop                                                                                                    Dispo$itlon Da~: 08/2312013                   ---Fines
                                                                                                 "            M1
                                                                                                                                                            Sentence Date: 0712412013                     _ _ EMSA
  01/19/2013                                                                                                                                                Disposing Authority: Williams, R
                                                                                                                                                            Seth                                          --
                                                                                                                                                                                                          - Rest
                                                                                                                                                                                                                 MCA RE

  CP-51-CR-0010492·2013             99999 -·Theft Property Lost Etc By 18§3924                                                                              Disposed at Lower Court                          Costs/
  N 843810-2                 .·,'   Mistake                                                                                                                 Disposition Da.te: 0812312013                 _ _ fines
                                                                       M1                                                                                   Sentence Date: 07/2412013                     _EMSA
  0111912013

                                                                                                                                                                                                          --
                                                                                                                                                            Disposing Authority. Williams, R                 MCARE
                                                                                                                                                            Seth                                                 Rest
  CP-51-CR-0010492-2013             99999 • Receiving Stolen Property                                         18§3925§§A                                    Disposed at Lower Court                           Costsl
  N 843810-2                                                                                     •.                                                         Disposition Date: 0812312013                  _Fines
                                                                                                              M1                                            Sentence Date: 0712412013                     _ _ EMSA
  01/19/2013
                                                                                                 .
                                                                                                 I


                                                                                                 \I
                                                                                                                                                            Disposing Authority: Williams, R
                                                                                                                                                            Seth                                          -     MCARE
                                                                                                                                                                                                                 Rest

    Comments: ADA- Megan Koneskif Def. Sandra Ilene. Thompson' Ct. Rept- Quadrlyyah Taylor/ Ct. Clk- Lisa Corbitt Jury trla~
    defendant adjudged ~OT GUilTY by the jury.                                   ·       ···

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                      CP-51-CR-001049.2-2013 Comm.
                      .           .     Ncl Guil1y
                                                                           v. Sacko, Sahara

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                    Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 25 of 35


                       COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                                              Docket Number: CP-51-CR-0010492-2013
                                                                                                                                       CRIMINAL DOCKET
                                                                                                                                                              Court Case


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                                                                               Saharo Sacko


 Judge Assigned: Street, Sierra Thomas                                               Date Filed: 08/19/2013                    Initiation Date: 08/19/2013
 OTN: N 843810-2                       LOTN:                                         Originating Docket No: MC-51-CR-0002862-2013
 Initial Issuing Authority: Robert S. Blasi                                          Final Issuing Authority:
 Arresting Agency: Philadelphia Pd                                                   Arresting Officer: Vinson, Martin L
 Complaint/Incident #:
 Case Local Number Type(s)                                                           Case Local Number(s)
         District Control Number                                                            1303003648


Case Status:      Closed                         Status Date                Processing Status                                              Arrest Date:        01/19/2013
                                                 05/08/2014                 Completed
                                                 05/08/2014                 Awaiting Return of Bail
                                                 05/05/2014                 Awaiting Trial
                                                 02/10/2014                 Awaiting Trial Readiness Conference
                                                 01/04/2014                 Awaiting Trial
                                                 10/15/2013                 Awaiting Trial Readiness Conference
                                                 09/05/2013                 Awaiting Trial
                                                 09/04/2013                 Awaiting Arraignment
                                                 08/23/2013                 Awaiting Formal Arraignment
                                                 08/19/2013                 Awaiting Filing of Information




  Event Type                     Start Date        Time                                                                                            Status
  Formal Arraignment             09/09/2013        11:00 am           1104                                                                         Scheduled
 Trial                           10/08/2013         9:00 am           508                             Judge Angelo J. Foglietta                    Moved
 Trial                           10/15/2013         9:00 am           508                             Judge Angelo J. Foglietta                    Continued·
 Trial Readiness                 02/05/2014         9:00 am           508                             Judge Angelo J. Foglietta                    Moved
 Conference
 Trial Readiness                 02/05/2014         9:00 am           508                             Judge Sierra Thomas Street                   Scheduled
 Conference
 Trial                           02/10/2014         9:00 am           508                             Judge Sierra    Thom~s    Street             Continued
 Trial                           02/10/2014         9:00 am           508                             Judge Angelo· J. Foglietta                   Moved
 Trial Readiness                 04/30/2014         9:00 am           508                             Judge Sierra Thomas Street                   Scheduled
 Conference
 Trial                           05/05/2014         9:00 am           508                             Judge Sierra Thomas Street                   Continued
 Trial                           05/07/2014         9:00 am           508                             Judge Sierra Thomas Street                   Continued
 Trial                           05/08/2014         9:00 am           508                             Judge Sierra Thomas Street                   Scheduled



CPCMS9082                                                                                                                                                   Printed: 01/19/2015

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           data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can
           only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with ttie provisions of the Criminal History Record
                                          Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                       Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 26 of 35


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                                                                                                                                                                         Page 2 of 10




                                      09/01/1964



 Participant Type                                              Name
 Probation Officer                                             Joyce, Joseph
 Defendant                                                     Sacko, Sahara
 Probation Officer                                             Hopkins-Bot, Katherine



 Sacko, Saharo                                                                                                                                           Nebbia Status: None

     Bail Action                       Date                   Bail Type                       Percentage             Amount
                                                                                                                                   Bail Posting Status                  Posting Date

     Set                               01/19/2013             Nonmonetary                                              $0.00
                                                                                                                                   Posted                                01/19/2013


                                                                             Statute Description
                                           18 § 3921 §§A                     Theft By Unlaw Taking-Movable Prop                                              N 843810-2
 2              5              M1                                            Theft Property Lost Etc By Mistake                                              N 843810-2
                                         . . .~~-~-~9!.~...                                                                                                  _. !   =      ~




 99999          1              M1          18 § 3921 §§A "~·-~~hett.~y Unlaw Taki,ng-Movable P~op                                          01/19/2013        N 843810-2
-~''""""''""'""'-"""~=-

 99999          2             M1                                             Theft Property Lost Etc By Mistake                            01/19/2013        N 843810-2
 99999          3             M1                                             Receiving Stolen Property                                     01/19/2013        N 843810-2


Disposition
     Case Event                                                                   Disposition Date                                Final Disposition
       Sequence/Description                                                          Offense Disposition                              Grade       Section
           Sentencing Judge                                                             Sentence Date                                       Credit For Time Served
             Sentence/Diversion Program Type                                               lncarceration/Diversionarv Period                    Start Date
                    Sentence Conditions

Lower Court Proceeding (generic)
     Information Filed                                                            07/24/2013                                      Not Final
       99,999 /Receiving Stolen Property                                             Not Guilty                                        M1          18 § 3925 §§A
           Blasi, Robert S.                                                             07/24/2013
       99,999 /Theft By Unlaw Taking-Movable Prop                                    Guilty                                            M1          18 § 3921 §§A
           Blasi, Robert S.                                                             07/24/2013
             Probation                                                                     Min of 9.00 Months                                   07/24/2013
                                                                                           Max of 9.00 Months
                                                                                           9 Months
       99,999 I Theft Property Lost Etc By Mistake                                   Guilty                                            M1          18 § 3924
           Blasi, Robert S.                                                             07/24/2013

CPCMS 9082                                                                                                                                                          Printed: 01/19/2015

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                                              Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
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                        COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

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Disposition
  Case Event                                                                    Disposition Date                                 Final Disposition
    Sequence/Description                                                           Offense Disposition                               Grade       Section
          Sentencing Judge                                                            Sentence Date                                       Credit For Time Served
            Sentence/Diversion Program Type                                              lncarceration/Diversionarv Period                   Start Date
                  Sentence Conditions

            Merged
                                                                                                 ""-·---,-·~~~""~·-·"'------·~,----~--------
Proceed to Court                   Defendant Was Not Present
  Information Filed                                                             08/23/2013                                       Not Final
     1 I Theft By Unlaw Taking-Movable Prop                                        Added by Information                              M1          18 § 3921 §§A
    2 I Theft Property Lost Etc By Mistake                                         Added by Information                              M1          18 § 3924
    99,999 / Receiving Stolen Property                                             Disposed at Lower Court                           M1          18 § 3925 §§A
    99,999 /Theft By Unlaw Taking-Movable Prop                                     Disposed at Lower Court                           M1          18 § 3921 §§A
    99,999 /Theft Property Lost Etc By Mistake.                                    Disposed at Lower Court                           M1          18 § 3924
Not Guilty
  Trial                                                                         05/08/2014                                       Final Disposition
    1 I Theft By Unlaw Taking-Movable Prop                                         Not Guilty                                        M1          18§3921 §§A
    2 I Theft Property Lost Etc By Mistake                                         Not Guilty                                        M1          18 § 3924
    99,999 /Receiving Stolen Property                                              Disposed at Lower Court                           M1          18 § 3925§§ A
    99,999 /Theft By Unlaw Taking-Movable Prop                                     Disposed at Lower Court                           M1          18§3921§§A
    99,999 I Theft Property Lost Etc By Mistake                                    Disposed at Lower Court                           M1          18 § 3924


  Name:                Philadelphia County District Attorney's                          Name:                Sandra Ilene Thompson
                       Office                                                                                 Private
                       Prosecutor                                                       Supreme Court No:               084345
  Supreme Court No:                                                                     Rep. Status:                    Active
  Phone Number(s):                                                                      Phone Number(s):
      215-686-8000               (Phone)                                                                                (Phone)
                                                                                            717-848-3033
  Address:                                                                                  717-848-3303                (Phone)
          3 South Penn Square                                                           Address:
          Philadelphia, PA 19107                                                              351 E Princess St
                                                                                              PO Box 1901
                                                                                              York, PA 17405

                                                                                       Representing: Sacko, Saharo




Sequence Number                    CP Filed Date                      Document Date                                     Filed By




CPCMS 9082                                                                                                                                                   Printed: 01/19/2015

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                                            Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                        Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 28 of 35


                        COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                                                Docket Number: CP-51-CR-0010492-2013
                                                                                                                                         CRIMINAL DOCKET
                                                                                                                                                               Court Case


                                                                  -Commonwealth of Pennsylvania
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                                                                               Sahara Sacko
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                                                                                       tiJllfRIESI
Sequence Number                    CP Filed Date                      Document Date                                    Filed By

                                   08/19/2013                                                                          Unknown Filer
    Appeal


                                   08/23/2013                                                                          Commo11wealth of Pennsylvania
    Information Filed


                                   09/04/2013                                                                          Thompson, Sandra Ilene
    Waiver of Appearance at Arraignment


4                                  09/05/2013                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County·
    Hearing Notice


7                                  09/05/2013                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
    Hearing Notice


8                                  09/05/2013                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
    Hearing Notice


3                                  10/15/2013                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
    Hearing Notice


5                                  10/15/2013                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
    Hearing Notice




CPCMS 9082                                                                                                                                                   Printed: 01/19/2015

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                                            Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 29 of 35


                         COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                                                Docket Number: CP-51-CR-0010492-2013
                                                                                                                                         CRIMINAL DOCKET
                                                                                                                                                               Court Case


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                                                                                        v.
                                                                                Saharo Sacko

 Sequence Number                    CP Filed Date                      Document Date                                    Filed By

 6                                  10/15/2013                                                                          Foglietta, Angelo J.
     Defense Attorney Accepts Service - Defendant Failed to Appear
       Advance Defense Request- defendant is on religious holiday.
       Defendant also needs SONINKE LANGUAGE INTERPRETER.
       Commonwealth is ready on call.
       List for trial readiness conference on 02/05/2014.
       List for Jury trial on 02/10/2014.
       NCD- 02/05/2014 Rm 508.
       Earliest Possible Date given

       Hon. Angelo J. Foglietta
       ADA- Megan McDonald/ Def- Sandra I. Thompson, Esq./ Ct. Rept- Monica Vasquez/ Ct. Clk- Lisa Corbitt

       Defendant on baiV served for the next listing


                                   12/16/2013                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
     Hearing Notice


2                                  12/30/2013                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
     Hearing Notice


3                                  01/04/2014                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
     Hearing Notice


                                   02/05/2014                                                                          Street, Sierra Thomas
     Trial Date to Remain
       Soninke Interpreter has been confirmed as being ordered for defendant.
       NCO- 02/10/2014 Rm 508.
       Earliest Possible Date given

      . Hor.i. Sierra Thomas Street
       ADA- Kate McDermott/ Def- Sandra I. Thompson, Esq./ Ct. Rep!- Mo Prak/ Ct. Clk- Lisa Corbitt

       Defendant on baiV previously served for the next listing


                                   02/10/2014                                                                          CP Courtroom Operations
     Trial Continued




CPCMS 9082                                                                                                                                                   Printed: 01/19/2015

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             System of the Commonwealth of PennsylvanJa nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
            data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can
             only be provided by the Pennsylvania State Police. Moreover an employer who ·does not comply with the provisions of the Criminal History Record
                                            Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                       Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 30 of 35


                         COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                                                Docket Number: CP-51-CR-0010492-2013
                                                                                                                                         CRIMINAL DOCKET
                                                                                                                                                               Court Case


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Sequence Number                     CP Filed Date                      Document Date                                   Filed By

4                                  02/10/2014                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
    Hearing Notice


6                                  02/10/2014                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
    Hearing Notice


7                                  02/10/2014                                                                          Street, Sierra Thomas
    Order Granting Motion for Continuance
      Defense Request- SONINKE                Interpreter needed for the            defendant was         unable to get to court today due to
      inclement weather.
      Commonwealth is ready for trial. .
      Time ruled excludable.
      List for Trial Readiness·Conference on 04/30/2014.
      List for Jury trial on 05/05/2014.
      NCO- 04/30/2014 Rm 508.
      Earliest Possible Date given

      Hon. Sierra Thomas Street
      ADA- Kate McDermott/ Def- Sandra I. Thompson, EsqJ Ct. Rep!- Mo Prak/ Ct. Clk- Lisa Corbitt.

      Defendant on bail/ served for the next listing


                                   04/30/2014                                                                          Street, Sierra Thomas
    Status Listing
      Commonwealth has no contact w/witness
      Defense will be ready for trial
      Trial Date of 5/5/14 to remain

      J. Street; ADA: Koneski; Def Co: S. Thompson; Steno: M. Prak; Clerk: J. Misunas


                                   05/05/2014                                                                          CP Courtroom Operations
    Trial Continued




CPCMS 9082                                                                                                                                                   Printed: 01/19/2015

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             only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                            Information Act may be subject to civil liability as set forth in 16 Pa.C.S. Section 9163.
                      Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 31 of 35


                        COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                                                Docket Number: CP-51-CR-0010492-2013
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                                                                               Saharo Sacko


Sequence Number                    CP Filed Date                      Document Date                                    Filed By

4                                  05/05/2014                                                                          Street, Sierra Thomas
    Commonwealth Motion - Civilian Witness Notified but Failed to Appear
      Court is also on trial, Commonwealth vs. Raymond Maurice Blow, CP-51-CR-0007566-2013.
      Defense is ready.
      NCD- 05/07/2014.
      SONINKE INTERPRETER NEEDED.
      Earliest Possible Date given

      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson, Esq./ Ct. Rep!- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail/ served for the next listing


5                                  05/05/2014                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
    Hearing Notice


                                   05/07/2014                                                                          Street, Sierra Thomas
    Jury Selection
      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rept- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail

2                                  05/07/2014                                                                          CP Courtroom Operations
    Trial Continued


5                                  05/07/2014                                                                          Court of Common Pleas -
                                                                                                                       Philadelphia County
    Hearing Notice


6                                  05/07/2014                                                                          Street, Sierra Thomas
    Jury Selection Completed
      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rept- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail

7                                  05/07/2014                                                                          Street, Sierra Thomas
    Jury Sworn
      Defendant arraigned at 3:07 PM, pleads NOT GUil TY to. theft and theft property lost etc by mistake


CPCMS 9082                                                                                                                                                   Printed: 01/19/2015

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                                            Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                        Case 2:15-cv-00256-LDD Document 1 Filed 01/20/15 Page 32 of 35


                         COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

                                                                                                                Docket Number: CP-51-CR-0010492-2013
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                                                                                Saharo Sacko


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8                                  05/07/2014                                                                          Street, Sierra Thomas
    Proposed Preliminary Instructions
      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rep!- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail


9                                  05/07/2014                                                                          Lewis, Kathryn Streeter
    Opening Statements ·
      Commonwealth- 3:17 PM - 3:23 PM
          Defense- 3:23 PM - 3:29 PM



      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rept- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail


                                   05/08/2014                                                                          Street, Sierra Thomas
    Testimony Resumes
      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rept- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail


2                                  05/08/2014                                                                          Street, Sierra Thomas
    Prosecution Rests
      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rept- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail


3                                  05/08/2014      .                                                                   Street, Sierra ThOmas
    Defense Testimony Begins
      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rept- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail




CPCMS 9082                                                                                                                                                   Printed: 01/19/2015

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                        COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

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4                                 05/08/2014                                                                          Street, Sierra Thomas
    Defense Rests
      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct Rept- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail


5                                05/08/2014                                                                           Street, Sierra Thomas
    Closing Arguments
      Defense- 2:07 PM - 2:25 PM
      Commonwealth- 2:26 PM - 2:34 PM

      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rep!- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail


6                                05/08/2014                                                                          Street, Sierra Thomas
    Jury Charged
      Charge- 2:35 PM - 2:48 PM

      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rep!- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail

7                                05/08/2014                                                                          Street, Sierra Thomas
    Due Deliberations
      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rep!- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail


8                                05/08/2014                                                                          Street, Sierra Thomas
    Question from Jury
      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rep!- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt

      Defendant on bail




CPCMS9082                                                                                                                                                  Printed: 01/19/2015

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                         COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY

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Sequence Number                     CP Filed Date                     Document Date                                  Filed By

9                                   05/08/2014                                                                       Street, Sierra Thomas
    Not Guilty
      Hon. Sierra Thomas
      ADA- Megan Koneski/ Def- Sandra Ilene Thompson/ Ct. Rep!- Quadriyyah Taylor/ Ct. Clk- Lisa Corbitt
      Jury trial. Defendant adjudged NOT GUilTY by the jury.


      bail



                       Last Payment Date:                                                                                               Total of Last Payment:

    Sacko, Saharo                                                   Assessment               Payments            Adjustments          Non Moneta[V                   Total
       Defendant                                                                                                                           .Efil'.ments

    Costs/Fees
    ATJ                                                                   .$3.00                  $0.00                 -$3.00                  $0.00               $0.00
    CJES                                                                   $2.25                  $0.00                 -$2.25                  $0.00               $0.00
    Crime Victims Compensation (Act 96 of                                 $35.00                  $0.00                -$35.00                  $0.00               $0.00
    1984)
    JCPS                                                                  $10.25                  $0.00               . -$10.25                 $0.00               $0.00
    Judicial Computer Project                                              $8.00                  $0.00                 -$8.00                  $0.00               $0.00
    Victim Witness Service (Act 111 of 1998)                              $25.00                  $0.00                -$25.00                  $0.00               $0.00

                                     Costs/Fees Totals:                   $83.50                  $0.00                -$83.50                  $0.00               $0.00


                                           Grand Totals:                  $83.50                  $0.00                -$83.50                  $0.00               $0.00


       ** - Indicates assessment is subrogated




CPCMS 9082                                                                                                                                                 Printed: 01/19/2015
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                                             Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
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                                  VERIFICATION




      I verify that the statements made in this Complaint are true and correct. I

understand that false statements herein are made subject to the penalties of perjury

as they relate to unswom falsification to authorities.



                                               s~~
                                               Saharo Sacko, Plaintiff
                                                                      So.9'b:>
